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                     Society of Saint Vincent de Paul
                     Yolo / Metro SVdP district
                     Our Lady of Grace Conference
                     Website: http://ourladyofgrace-svdp.blogspot.com

                     Our Lady of Grace Catholic Church
serviens in spe      911 Park Boulevard, West Sacramento, CA 95691
 Serving in hope
                                                          Help line: (916) 371-5264




 September 8, 2022

 RE: Mark Anderson BOP # 16966-097

 To Whom It May Concern:

 I have been in contact with Seth Castleman, the director of the Exodus
 project, which is also a program of St. Vincent de Paul for reentry for
 individuals returning from incarceration.

 The Society of Saint Vincent de Paul Yolo-Metro District will provide
 funds needed for his housing placement.

 Sincerely,


 Sonja Craighton
 Yolo-Metro District President
